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   14
                                   UNITED STATES DISTRICT COURT
   15
                                  CENTRAL DISTRICT OF CALIFORNIA
   16                                   SOUTHERN DIVISION
   17     Blue Spike, LLC,                          CASE NO.: 8:17-cv-1172-DOC-KES
   18                        Plaintiff,             Hon. David O. Carter
   19     v.                                        JOINT STIPULATION PURSUANT
                                                    TO L.R. 37-2 REGARDING
   20     VIZIO, Inc.,                              DEFENDANT’S REFUSAL TO
                                                    PRODUCE DOCUMENTS FOR
   21                        Defendant.             INSPECTION
   22                                               DISCOVERY MATTER
                                                    Hearing Date: May 22, 2018
   23                                               Time: 10:00 A.M.
                                                    Location: Santa Ana, 6D
   24
                                                    Disc. Cut-Off: Nov. 1, 2018
   25                                               Final Pre-Trial: Apr. 15, 2019
                                                    Trial: Apr. 30, 2019
   26
                                                    PUBLIC VERSION – REDACTED AT
   27                                               PG. 29
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    1                            JOINT DISCOVERY SUBMISSION
    2           Pursuant to Rule 37(a) of the Federal Rules, and Local Rule 37.2, Plaintiff Blue
    3 Spike LLC (“Blue Spike”), and Defendant VIZIO Inc. (“VIZIO”), submit this Joint
    4 Submission regarding Blue Spike’s Motion to Compel production of Defendant’s
    5 source code for inspection. See F. R. Civ. P. 37(a); C.D. Cal., L.R. 37-2.
    6                                      INTRODUCTION
    7           A.     Blue Spike’s Introductory Statement.
    8           Under L.R. 37-1, the parties met and conferred on April 20, 2018.1 Since the
    9 beginning of this case, Blue Spike has requested VIZIO’s source code for the
  10 Accused Products. 2 VIZIO avoided the subject, saying in its Rule 26 statement, a
  11 source code production deadline was not necessary. Then, in April 2018, after months
  12 for trying to meet and confer, VIZIO finally indicated it was taken the position that it
  13 would not produce its source code for its Accused Products until Blue Spike better
  14 identified the accused products. Blue Spike now moves to compel production of the
  15 source code for the accused products.
  16            Specifically, Blue Spike requests an Order from the Court for VIZIO to
  17 produce documents, including source code, responsive to Blue Spike’s Requests for
  18 Production Nos. 16 and 22-33. See Request for Production, Ex. 7.
  19            VIZIO seems committed to a strategy of working against a meaningful trial on
  20 the merits. 3 During the Rule 16 and Rule 26 Conference joint submission, Blue Spike
  21
          1
  22        VIZIO had attorneys Steve Basileo and Thomas Burke participate on the meet and
          confer with attorneys Chris Honea and Randall Garteiser for Blue Spike.
  23      2
            Blue Spike’s Request for Production Defines “Accused Products” to mean Vizio’s
          Smart Televisions and Tablets cable of streaming secured content such as Netflix,
  24      YouTube, GooglePlay, HBO Go, Fox Now and other such services.” Ex. 7, 3 (pdf
          p.4). In its initial disclosures Blue Spike further limited this request to include only
  25      VIZIO’s Smart Televisions and Tablet running an Android Operating System 4.0 or
          higher. Blue Spike’s infringement position is consistently stated also in Blue Spike’s
  26      Operative Complaint that VIZIO attacked at the pleading stage on various grounds.
          3
  27        See Order, Dkt. 29; Fed. Cir. 2018, Order Denying VIZIO’s Writ of Mandamus,
          Case 18-116.
  28
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    1 proposed a date of February 1, 2018, for the production of source code in possession
    2 of VIZIO. VIZIO countered with “[n]o date needed.” See Rule 26(f) Report, Ex. 9, at
    3 11. VIZIO’s response did not clarify it was not going to provide any source code. Id.
    4 Moreover, such a response is less than constructive and does nothing to move this
    5 case towards resolution.
    6        Blue Spike continued its request for the inspection of VIZIO’s Accused
    7 Product source code. As an example used in the Complaint, VIZIO’s smart television
    8 remote has a button that allows access to Netflix for instant streaming of content. See
    9 Complaint, Dkt. 1. The parties have exchanged interrogatories and requests for
  10 production starting in early February. See Request for Production, Ex. 7; see
  11 generally, Declaration of Randall Garteiser In Support of Blue Spike’s Motion to
  12 Compel. Throughout this process, Blue Spike has attempted to gain cooperation with
  13 VIZIO in the production of the essential source code. Blue Spike has produced
  14 voluminous amounts of information requested by VIZIO in response to its over 100
  15 document requests. However, VIZIO refuses production of any of its source code for
  16 its Accused Products, which is essential to this case as VIZIO also asserts a
  17 counterclaim of non-infringement. See Ex. 9, at 3 (pdf p.7).
  18         In sum, while Blue Spike has given a good faith attempt to provide information
  19 to, and collect essential information from VIZIO, VIZIO has not reciprocated.
  20 Respectfully, Blue Spike requests an order from the Court requiring production of
  21 documents, including source code, responsive to Blue Spike’s Request for
  22 Production, Nos. 16 and 28-33. See Dkt. 7.
  23         B.     VIZIO’s Introductory Statement.
  24         Blue Spike’s true goal in this Motion is not to obtain source code, as is
  25 evidenced by its complete failure to even try and obtain relevant source code from the
  26 third parties that actually possess this source code, but solely to cast aspersions on
  27 VIZIO. Consistent with this goal, Blue Spike’s Motion is a lengthy and irrelevant
  28 diatribe that is designed to obscure the following dispositive facts:
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    1           x VIZIO does not manufacture the products at issue in this case.
    2           x VIZIO does not have relevant source code – i.e., source code relating to
    3               the allegedly infringing features of the Accused Products.
    4           x VIZIO has repeatedly advised Blue Spike that relevant source code is in
    5               the possession of third parties.
    6        Because VIZIO lacks source code that relates to the allegedly infringing
    7 functionality, the only relief Blue Spike can obtain with this motion is to force VIZIO
    8 to produce irrelevant source code unrelated to the accused functionality of the
    9 Accused Products, or this case. However, nowhere in its Motion does Blue Spike
  10 even attempt to explain how such source code could be relevant, why it needs such
  11 source code, or how its purported need for production of such source code outweighs
  12 the risks and burdens associated with its production.
  13         Blue Spike merely asserts, without explanation, that it needs to inspect all of
  14 VIZIO’s source code “in order to respond to the non-infringement and invalidity
  15 claims that VIZIO has asserted” and “to fairly develop its claims past the plausible
  16 (yet publicly available) level that Plaintiff has already demonstrated.” Nowhere does
  17 Blue Spike actually explain how source code unrelated to the accused functionality
  18 could possibly be relevant or necessary to either task, or to this case.
  19         These omissions are fatal to Blue Spike’s Motion. To state the obvious,
  20 proprietary source code is commercially sensitive, and courts carefully scrutinize
  21 source code requests. Thus, a party that seeks to inspect computer source code must
  22 prove that the source code in question is relevant to issues in dispute, and that the
  23 need for production outweighs not just the burdens but the risks associated with its
  24 production.     Drone Tech., Inc. v. Parrot S.A., 838 F.3d 1283 (Fed. Cir. 2016)
  25 (vacating an order requiring production of source code when Plaintiff failed to show
  26 relevance and necessity). Blue Spike does not even attempt to meet its burden.
  27         Instead, Blue Spike’s Motion is a harassing litigation tactic, rife with baseless
  28 and nonsensical accusations regarding VIZIO’s purported discovery misconduct. For
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    1 example, Blue Spike complains that VIZIO did not produce documents in response to
    2 informal document requests Blue Spike made early in this case, but VIZIO has no
    3 obligation to do so. Blue Spike also notes that VIZIO will not agree to forgo the use
    4 of any third-party source code at trial or in a summary judgment motion. Yet, VIZIO
    5 has no obligation to agree to such a proposal. Indeed, this third-party source code is
    6 the best available evidence for infringement and noninfringement issues. Blue Spike
    7 further contends that it is now facing time pressure with regard to discovery, but any
    8 purported time pressure was caused by Blue Spike’s own decision to wait until the
    9 11th week of the discovery period to serve its first set of formal discovery demands, as
  10 well as its decision to conduct no third-party discovery in this lawsuit.
  11         Blue Spike also argues that VIZIO delayed meeting and conferring with respect
  12 to the document demand at issue here. Yet, the record shows that the opposite is true.
  13 After receiving VIZIO’s timely written responses, Blue Spike sent VIZIO a meet and
  14 confer request that failed to comply with Local Rule 37-2.           VIZIO nonetheless
  15 proposed multiple meet and confer dates, but Blue Spike counsel ignored these
  16 proposals, later claiming they were “distracted” by another case in which they are not
  17 representing any of the parties:
  18         My apologies Steve, I was distracted the last few days by the billion
             dollar Virnetix[sic] case against Apple. They found infringement and the
  19         last few days are involved with willfulness, which seems like a sure thing
             from your fellow members of the bar here in Texas.
  20
  21 See Declaration of Steve Basileo (“Basileo Decl.”), Ex. A at 1. It is not VIZIO’s fault
  22 if this case is a low priority for Blue Spike’s counsel.
  23         In sum, Blue Spike’s Motion is bereft of evidence or argument addressing the
  24 applicable standard, and was filed for an improper purpose. Blue Spike’s Motion
  25 should be denied in its entirety, and VIZIO should be awarded its fees and costs.
  26                        PLAINTIFF BLUE SPIKE’S POSITION
  27 I.      NATURE OF THE DISPUTE.
  28         Blue Spike has requested that VIZIO timely produce its source code since the
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    1 very early stages of this case. See, e.g., Randall Garteiser Declaration; Joint Rule
    2 26(f) Report, Ex. 9, at 4. Blue Spike has been very clear that this source code
    3 inspection would benefit this case immensely in terms of reducing the time and effort
    4 the Court will need to put into this action. It will also simplify the patent infringement
    5 claims themselves—including any ambiguities that VIZIO sees in the patent
    6 infringement counts brought against it. See, e.g., Ex. 9, at 4; see also, Fed. R. Civ. P.
    7 1.
    8         Instead of simply providing the limited, narrowly tailored, discovery
    9 requested—i.e., source code for the Accused Products—VIZIO has entrenched this
  10 case in over a year’s worth of pleading motion practice. See, e.g., Initial Disclosures,
  11 Ex. 8 (limiting Accused Products to a certain subset of VIZIO smart televisions, and
  12 tablets that employ Android 4.0 operating system, and higher. This is not indicative
  13 of the vast production for an ambiguously large group of products—as the Defendant
  14 continues to assert). Furthermore, it is not Blue Spike’s fault that practically all of
  15 VIZIO’s imports infringe. VIZIO is known infringer that practices what’s been called
  16 efficient infringement. A practice whereby a company waits to see if a patent holder
  17 will risk litigation to enforce its intellectual property rights. Most, if not all, of
  18 VIZIO’s TV and tablet products have the ability stream secure content, and that forms
  19 the basis of infringement for five (5) of the asserted patents.
  20          In good faith, Blue Spike has revised and updated its Complaint throughout this
  21 process thinking that eventually its claims would have a fair and full opportunity to be
  22 heard. Blue Spike used the most accurate and publicly available information that it
  23 has been able to obtain to revise its Interrogatory Response No. 1, whereby Blue
  24 Spike provided VIZIO with detailed infringement charts for the very narrow set of
  25 claims being asserted. Ex. 15. To date, it has done this without VIZIO’s cooperation
  26 in delivering the nonpublic information within its control. Moreover, it has done this
  27 in spite of VIZIO’s continuous efforts to halt all progress in this case. VIZIO’s
  28 current approach is to delay discovery until the discovery deadline runs out. Blue
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    1 Spike remains committed to resolving this case on the merits.                This requires
    2 inspection of VIZIO’s source code, and thus this current motion.
    3           Blue Spike’s Complaint accurately underscores the accused products in this
    4 case, within the control of VIZIO, accused of infringement. See Complaint, Dkt. 1. It
    5 also accurately indicates where the source code for these VIZIO products can be
    6 located—this along with many discussions, and formal discovery requests, that also
    7 address VIZIO’s alleged confusion. See generally, Randall Garteiser Declaration. Yet
    8 Defendant refuses to even attempt production of any source code, or related
    9 information, within the reasonable scope of what has been asked for by Blue Spike.
  10 While Blue Spike has made all reasonable efforts to provide VIZIO with good faith
  11 responses, and information, in the discovery process, VIZIO refuses to cooperate with
  12 Blue Spike’s most fundamental request entirely.
  13            Admittedly, Blue Spike will need the source code utilized in the VIZIO
  14 controlled products at issue in this case to develop its complaint beyond the
  15 information that is now publicly available to it.4 See Fed. R. Civ. P 26(b)(1) (the
  16 information requested is nonprivileged, is highly relevant to Blue Spike’s claim or
  17 VIZIO’s noninfringement defenses, and sits squarely within scope of discovery). This
  18 would be true of all such plaintiffs in the same position as Blue Spike. Moreover, the
  19 need for VIZIO to produce the requested source code is even more pronounced in a
  20
          4
  21       VIZIO appears to be using Blue Spike’s infringement contentions as a pretext not to
          cooperate with Plaintiff’s discovery request. These claims are, as is customary prior to
  22      production of nonpublic information, demonstrated through publicly available
          information in claim charts developed by experts. Here, VIZIO is requiring a more
  23      particularized form of pleading than is required by the law in order for it to make a
          good faith effort at producing the needed source code that is at issue in this case. See
  24      Mendiondo v. Centinela Hosp. Med. Ctr., 521 F.3d 1097, 1104 (9th Cir. 2008)
          (finding that where a cognizable theory or sufficient facts are presented, Rule 8
  25      requirement is met); McAfee Enters., Inc. v. Yamaha Corp. of America, 2:16-2562,
          2016 WL 6920675 at *2 (C.D. Cal. June 24, 2016) (“The patent holder is not required
  26      to provide every detail of its claim within the initial pleading. [citation omitted].
          Rather, the complaint must merely provide a defendant with fair notice and a basis for
  27      asserting the claim. [citation omitted].”); Soteria Encryption, LLC v. Lenovo United
          States, Inc., 16-7958, 2017 WL 3449058, at *1 (C.D. Cal. Feb. 27, 2017).
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    1 case that has been seen in two separate Districts, and has been needlessly stalled by
    2 multiple pleading motions brought by VIZIO for more than a year. In terms of
    3 expediting this claim so that a full-trial on the merits can finally convene, time is of
    4 the essence now more than ever.
    5         Blue Spike’s request of a discovery referee, with a loser pay provision in place,
    6 to oversee the discovery process is indicative of Plaintiff’s desire to work with VIZIO
    7 in good faith, and to bring this case to a just and speedy resolution. See Rule 26(f)
    8 Report, Ex. 9, at 4-5, n. 1. Moreover, prior to the parties’ meet and confer held on
    9 April 20, 2018, a Protection Order that should have resolved VIZIO’s purported issue
  10 with disclosure of confidential information, including the source code (see Ex. 13, at
  11 24; Ex. 6, at 5), was in place. See Protective Order, Ex. 14. Yet VIZIO again refused
  12 to cooperate with Blue Spike’s request when the parties met on April 20, 2018,
  13 without any further explanation or constructive resolutions to producing the essential
  14 discovery information. See Randall Garteiser Declaration.
  15          Blue Spike has taken steps to ensure that its discovery collaboration with
  16 VIZIO is both fair and efficient. However, in order for this to occur VIZIO must at
  17 least make a reasonable attempt to produce source code for the Accused Products.
  18 This is central to the claims in Blue Spike’s Complaint, and VIZIO’s refusal will only
  19 continue to inhibit any meaningful ability for this action to move forward. See Fed. R.
  20 Civ. P. 26(b)(1). Blue Spike’s ability to develop its claim to the particularized level
  21 that VIZIO now insists Blue Spike must, as well as VIZIO’s non-infringement
  22 contentions themselves, 5 require that VIZIO cooperate in good faith with Plaintiff to
  23 produce the source code that is at issue in this action. 6
  24      5
       The Court cannot rely on simply VIZIO’s self-interested proclamation that it has not
  25 infringed, and Blue Spike must have this information to fairly defend against such
     contentions. See Wi-Lan, 1:15-cv-00788, Dkt. 204.
  26 6 Despite VIZIO’s allegations that Blue Spike is requesting way too much source code,
     the amount produced is almost always limited by the parties reaching agreements. For
  27 example, for purposes of infringement analysis and damages calculations VIZIO
     accused products made in 2016 until present operate the same way as the source code
  28
                                                  7
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    1       VIZIO acts in opposition to any and all such attempts.
    2 II.      THE REQUESTED SOURCE CODE IS ESSENTIAL TO
               DEFENDANT’S CONTENTIONS AND FOR THE DEVELOPMENT OF
    3          PLAINTIFF’S CASE.
    4          Blue Spike will need to inspect the source code that is at issue in this case in
    5 order to respond to the non-infringement and invalidity claims that VIZIO has
    6 asserted it will raise in this case. See Rule 26(f) Report, Ex. 9, at 7 (§D.2.). Moreover,
    7 Blue Spike will also need to see such nonpublic information in order to fairly develop
    8 its claims past the plausible (yet publicly available) level that Plaintiff has already
    9 demonstrated in this claim. Id. at 4.
  10           These are concerns VIZIO shares, at least as to its self-interested position that
  11 instead of cooperating with Plaintiff it will, yet again, move to dismiss Blue Spike’s
  12 Complaint. See, e.g., Id. at 7; see also VIZIO Letter, Apr. 17, 2018, Ex. 5. The
  13 Defendant’s letter, for example, outlines VIZIO’s issues with Blue Spike’s use of
  14 publicly available information to plead a plausible Complaint. See Ex. 5. Yet the
  15 particularized—and generally unrequired prior to discovery production and trial—
  16 standard that VIZIO insists upon before it will cooperate with Blue Spike is the very
  17 reason that the Defendant must produce the requested nonpublic information.7 Id.
  18 Without it, it is understood that Plaintiff would be prejudiced in the development of
  19 its Complaint to such a particularized level in the first place. See Wi-Lan Inc. v.
  20 VIZIO, Inc., 1:15-cv-00788, Dkt. 204 (D. Del. Apr. 13, 2018); Fed. R. Civ. P.
  21 26(b)(1).
  22
     provided to Blue Spike for inspection. Another example, the source code for VIZIO’s
  23 accused products running Android 4.0.0 and higher have the same functionality. And
     VIZIO can agree via stipulation that the source code for the remote and to stream is the
  24 same for a model of accused products regardless of the TV or tablet screen size. So
     VIZIO’s argument about proportionality is moot. The decision as to how much or how
  25 little to produce is in the hands of VIZIO via stipulations as to the various versions of
     the source code.
  26 7
        So as to not be confused, VIZIO continues to argue Blue Spike’s operative
  27 complaint is not sufficient in April of 2018, after VIZIO waived that right by filing an
     Answer months ago.
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    1        This is understandable due to the current absence of the nonpublic information
    2 held by VIZIO, which Blue Spike continues to request. VIZIO will need to produce
    3 this information to resolve the Catch-22 that it currently has created for the Plaintiff.
    4 On the one hand, it requests a deeper level of information than that required by Rule
    5 8. See, supra, fn3. On the other, it refuses to provide Blue Spike with the information
    6 needed for Plaintiff to comply. VIZIO also asserts that it will move to dismiss, yet
    7 again, without providing Blue Spike the information essential to defend against such
    8 non-infringement contentions. See Rule 26(f) Report, Ex. 9, at 7 (§ D. 2.); Baron
    9 Servs., Inc. v. Media Weather Innovations LLC, 717 F.3d 907, 913, n. 9 (Fed. Cir.
  10 2013) (“The opportunity for the reasonable chance to disprove [defendant]'s position
  11 on noninfringement was relevant and essential to [plaintiff]'s opposition of
  12 [defendant]'s motion for summary judgment.”) (alterations added).
  13         Not only has Blue Spike supplied VIZIO with a discovery request that is very
  14 clearly narrowed to a specific subset of VIZIO products (see, e.g., Initial Disclosures,
  15 Ex. 8), but it has repeatedly explained to VIZIO the relevance of the code to this
  16 case—where initial source code production for the Accused Products within
  17 Defendants control is a central issue to the infringement contentions. See Baron, 717
  18 F.3d at 913, n. 9 (holding that finding non-infringement without requiring defendant
  19 to produce source code was an abuse of discretion) (plaintiffs burden under Rule
  20 26(b)(1) is only “to show that the source code is relevant and likely to lead to
  21 admissible evidence” and under “the agreed protective order, [where defendant] can
  22 require that only [plaintiff’s] attorney’s have access to the code. There is no basis to
  23 further withhold discovery of the source code.”) (alterations added).
  24         Instead of producing the source code at issue in this Complaint, VIZIO dodges
  25 its obligation in this case by asserting that, because there are potential third-party
  26 source code discovery issues, VIZIO has no obligation to produce the source code
  27 under its control. See, supra, at 4, 5; infra, at 16-17. This on the bare bones assertion
  28 that the source code in VIZIO Accused Products does not infringe, and that third
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    1 parties (and not VIZIO itself) have sole control over the source code at issue (though
    2 the Accused Products are VIZIO name-brand). Id. While VIZIO might like Blue
    3 Spike to focus on third-party products and not the VIZIO Accused Products in this
    4 case, the well-known axiom that Plaintiff is the master of its complaint surely applies.
    5 And in this instance, Blue Spike is asking VIZIO to produce source code that is
    6 relevant to its products, and not third-party products. Blue Spike is going to start with
    7 VIZIO’s source code, determine if third party discovery is warranted, and then, only
    8 if necessary, bother third parties about VIZIO’s infringement. It’s VIZIO’s Smart
    9 Televisions and Tablet, that are the Accused Products, not a third parties.
  10         A.     VIZIO Has Disingenuously Evaded Blue Spike’s Requests.
  11                i.    Email Correspondence.
  12         Furthermore, Blue Spike reminded VIZIO of its obligation to produce source
  13 code through consistent and frequent correspondence with VIZIO that spans from the
  14 early stages of Defendant’s discovery obligations, until the present. See, e.g., Ex. 1
  15 (email dated Feb. 23, 2018); Ex. 2 (email dated Mar. 26, 2018); Ex. 3 (email dated
  16 Apr. 3, 2018); Ex. 4 (email dated Apr. 19, 2018). Not only has this correspondence
  17 clarified the need for the source code at issue in this complaint, but it reflects that
  18 Blue Spike has also attempted to alleviate VIZIO’s alleged issues with Blue Spike’s
  19 request. See, e.g., Ex. 1. And admittedly, it does indicate a sense of frustration by
  20 Blue Spike with VIZIO’s continued lack of cooperation. See, e.g., Ex. 4.
  21         In February, Counsel for Blue Spike elaborated on the source code needed, and
  22 noted ways that the pressure of document production could be alleviated if the scope
  23 of this case could be limited through an initial “start with the source code review.”
  24 See Ex. 1. Blue Spike “explained that it is the source code related to streaming audio
  25 and/or video” in the VIZIO Accused Products. Id. Moreover, Blue Spike reiterated
  26 that VIZIO’s continued position “that it is not going to make its entire source code for
  27 the accused products” or “even make the source code related to the streaming
  28 functionality available” was untenable and had held up progress in the case for
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    1 months. Id. Plaintiff also requested a “meet and confer no later than March 6, 2018
    2 with respect to inspection of source code” to as to “relieve the pressure of document
    3 production on VIZIO.” Id. “However, it appears that Vizio is not going to make its
    4 source code available without motion practice as it has not indicated any dates for
    5 such review since the Rule 26 conference. As such, Blue Spike must proceed with its
    6 document requests in tandem with the review of the source code.” Id. (showing
    7 attached requests for production).
    8         In March, Blue Spike noted that it had “asked for a date to meet and confer on
    9 Vizio not providing a date for source code inspection.” See Ex. 2 (noting that VIZIO’s
  10 correspondence indicated “a transparent attempt to spin” its refusal to meet and
  11 confer, and offering meet and confer times “anytime today, tomorrow or Thursday” of
  12 that week). The correspondence also noted VIZIO’s “disingenuous” evasion of Blue
  13 Spike’s requests, and that Plaintiff would have to “move first,” if needed, to address
  14 VIZIO’s failure with this Court. Id. (Mar. 8, 2018). Correspondence between the
  15 parties underscores VIZIO’s strategy of again ignoring Blue Spike’s repeated requests
  16 for an initial source code review entirely while, at the same time, requiring that Blue
  17 Spike go above and beyond in clarifying responses that it had already given in good
  18 faith. Id. (Mar. 22, 2018) Indeed, VIZIO’s lack of cooperation, or constructive
  19 responses as to how a meet and confer would address Blue Spike’s issues, was a
  20 serious hindrance to scheduling a meet and confer. Id. Yet even as Blue Spike worked
  21 with VIZIO, and made concessions to supplement its responses (this in spite of zero
  22 concessions on behalf of VIZIO, see Ex. 2, VIZIO Counsel’s Mar. 22 reply to Blue
  23 Spike Counsel Mar. 8 correspondence), VIZIO continues to make obstacles to a
  24 resolution of this case. 8
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  26  This even in the aftermath of two decisions in the present case that found VIZIO’s
     use of such a strategy impermissible (see Order, Dkt. 29; Fed. Cir. Order, Case 18-
  27 116), and in spite of the “multiple documented times Blue Spike has attempted to
     meet and confer” (see, e.g., Ex. 4).
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    1        In early April, Blue Spike again made efforts “to meet and confer about Vizio’s
    2 source code review and lack of production.” See Ex. 3. Blue Spike noted that it had
    3 “mentioned we wanted to meet and confer about 3 times on the source code and
    4 you’ve ignored our requests. So in another effort to meet and confer, please let us
    5 know a date this week that works for Vizio.” Id. (noting Blue Spike’s times and
    6 accommodation it could make to meet). The correspondence noted that “[t]he call
    7 pertains to a future date for source code inspection, Vizio’s lack of production.” Id.
    8        In late April, Blue Spike had to, once more, reassert its request for source code
    9 inspection, which it reiterated had been instrumental in holding up the process for an
  10 attempted “meet and confer with Vizio for about 3 weeks.” See Ex. 4. Blue Spike also
  11 repeated the importance of time in this case, as the “short discovery window” (ending
  12 on the 1st of Nov. 2018) made VIZIO’s continued refusal to meet and confer, and its
  13 continuous strategy in failing to “provide a reason for its denial of financial
  14 information related to the accused products and its source code” a dangerous tactic.
  15 This tactic has left Blue Spike in the position of being prejudiced in the assertion of
  16 its property rights absent the assistance of this Court in the resolution of this issue.
  17                ii.    Formal Discovery Correspondence.
  18         Blue Spike served VIZIO with its First Request for Production of Documents
  19 on February 23, 2018. See Ex. 7, at ¶¶ 16, 22-33. In its Request, Blue Spike clarified
  20 the need for the source code at issue in VIZIO’s Accused Products, and narrowed the
  21 Request to a very specific subset of VIZIO name-branded televisions and tablets. Id.
  22 Furthermore, Plaintiff narrowed the Accused Products to those “capable of streaming
  23 secured content such as Netflix, Youtube, Google Play, HBO Go, Fox Now, and other
  24 such services.” See id.; see also, First Interrogatories, Ex. 11, at 7-8 (further clarifying
  25 the VIZIO Accused Products by allowing Defendant to narrow its focus through the
  26 memory systems, and operating systems, employed by such products); 30(b)(6)
  27 Noticed Deposition, Ex. 12, at 1, 5 (further clarifying that the source code at issue is
  28 that which is “implementing the patented inventions. The deponent needs to be able to
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    1 access the root tree for this deposition on a laptop consistent with the save [sic.]
    2 guards of the Protective Order.”).
    3           As a first point, VIZIO pivots from its initial issue with the production of
    4 source code. See Objections to Request, Ex. 13, at 24; see also, Objection to
    5 Interrogatories, Ex. 6, at 5. In March, VIZIO’s response to Blue Spike’s request for
    6 source code production stated that “VIZIO will agree to produce its confidential
    7 documents once the Court enters a protective order in this case.” See Obj. to Request,
    8 Ex. 13, at 24. Now a protective order has been entered in this case. See Protective
    9 Order, Ex. 14, at 3, § 2.8, ensuring that source code be treated as “HIGHLY
  10 CONFIDENTIAL – ATTORNEYS’ EYES ONLY – SOURCE CODE”). This
  11 protective order was in place prior to Blue Spike and VIZIO’s meet and confer, where
  12 the Defendant again was again non-responsive to Blue Spike’s requests. Moreover,
  13 VIZIO can require that only Blue Spike attorneys have access to this code. See Baron,
  14 717 F.3d at 913, n. 9. With this protection in place, “[t]here is no basis to further
  15 withhold discovery of the source code.” Id.
  16            Additionally, VIZIO disingenuously represented the clear scope of what Blue
  17 Spike had asked for in its Objections. See Obj. to Request, Ex. 13, at 24. 9 As an
  18 example, it denies that Blue Spike’s source code request is relevant “to any claim or
  19 defense or proportional needs of the case,” while at the same time asserting that it will
  20 raise a non-infringement contention. See Rule 26(f) Report, Ex. 9, at 7 (§ D. 2.).
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          9
  22        For example, in its Objection VIZIO states that “VIZIO will not produce those types
          of ‘documents or things,’” where Blue Spike made no such requests. See Ex. 13, at 23
  23      (where VIZIO quotes Blue Spike’s request verbatim, and it is absent of any such
          request for “documents and things.”). Defendant then feigns a lack of understanding
  24      to what “data in electronic form” means in Blue Spike’s Request. Id. at 24. As VIZIO
          places Blue Spike’s Document Request just prior to this cherry-picked term, it clearly
  25      refers to “documents, correspondence, email or data in electronic form, referring or
          related to the structure, operation, function or performance of the Accused Product
  26      and/or its components, including all source code, user guides, reference manual,
          product manuals, product descriptions, technician’s guides, installation guides,
  27      technical manuals, software manuals, screen shots, and datasheets.” Id. at 23
          (emphasis added). Thus, VIZIO surely understands the context of the term.
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    1 Certainly, Blue Spike will need the requested production in order to fairly defend
    2 itself. See Baron, 717 F.3d at 913, n. 9. Moreover, VIZIO well knows that the source
    3 code at issue is that in the Accused VIZIO name-branded Products, as Blue Spike has
    4 made that abundantly clear from the initial filing of its Complaint, and throughout the
    5 discovery process. See, supra, at 12. The disingenuous lack of cooperation with Blue
    6 Spike’s Requests can be seen throughout VIZIO’s Objections to Plaintiff’s most
    7 fundamental Requests that are at issue in this Motion to Compel. See, e.g., Ex. 13, at
    8 Obj. to No.’s 16, 22-33.
    9        B.     VIZIO’s Lack of Good Faith Effort and Uncooperative Strategy Has
                    Been Noted in This Case and by Other Courts.
  10
  11         Already in this case, two separate courts, consisting of not less than four
  12 separate judges, have found in favor of Blue Spike when VIZIO’s litigation tactics
  13 (which involved an abuse of the parties’ good faith efforts through the dismissal
  14 process) have been reviewed. Both this Court and the Federal Circuit found that, in
  15 working to forestall Blue Spike’s patent infringement claims after Plaintiff moved the
  16 action to VIZIO’s preferred District, Defendant did not act in good faith or with clean
  17 hands. See Order, Dkt. 29; Fed. Cir., Order, Case 18-116.
  18         This is not the first, or last, time a Federal Court has found misconduct in
  19 VIZIO’s litigation strategy. In fact, just this month the District Court of Delaware
  20 found VIZIO’s litigation tactics in discovery “would be unfairly prejudicial to
  21 Plaintiff and disrupt the Court’s management of the case.” See Wi-Lan, 1:15-cv-
  22 00788, Dkt. 204. Chief Judge Leonard P. Stark found that “Plaintiff has the right to
  23 obtain the factual basis for each of Vizio’s affirmative defenses beyond the bare
  24 assertions of them in Vizio’s responsive pleading.” Id. The Judge also found the
  25 interrogatories “necessary to advance the orderly pretrial development of the case.”
  26 Id.
  27         In Judge Stark’s Order, as here, production by VIZIO of the requested source
  28 code is necessary to advance the pretrial development of this case. Id. Moreover,
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    1 VIZIO intends to use absence of this non-public information in Blue Spike’s
    2 Complaint as the basis for affirmative, and other defenses. See Ex. 9, at 7. Without
    3 allowing Blue Spike or this Court to inspect the source code by producing it, these
    4 defenses will be nothing more than bare assertions. See Wi-Lan, 1:15-cv-00788, Dkt.
    5 204. This is an indefensible position by VIZIO. See Baron, 717 F.3d at 913, n. 9.
    6        Thus, for one, if VIZIO does “believe[ ] that its defenses of non-infringement
    7 and/or invalidity are likely to be determined by a motion for summary judgment,”
    8 then Blue Spike and this Court will need the source code in order to understand,
    9 beyond assertions, that there is a factual basis for Defendant’s defenses. See Rule
  10 26(f) Report, Ex. 9, at 7 (§ D. 2.) (alteration added). For two, if VIZIO actually does
  11 want Blue Spike to prepare for, and potentially streamline, this case by clarifying its
  12 infringement contentions deeper than the plausibility standard required by Rule 8,
  13 then Blue Spike will need to see the source code: because it is a central item of
  14 information needed to do that in this case. Lastly, dismissing infringement counts (as
  15 the source code sometimes calls for in cases such as these) would, again, need
  16 cooperation by VIZIO with Blue Spike’s request, as the source code may “indicate a
  17 flaw with the publicly available information supporting Blue Spike’s allegation of
  18 Vizio’s patent infringement.” See Rule 26(f) Report, Ex. 9, at 4.
  19         In short, it seems that VIZIO has tied Blue Spike’s hands. Essentially, VIZIO
  20 requires an unreasonable level of specificity in order to make a good faith attempt to
  21 provide Blue Spike with the very information required to comply with such a request.
  22 VIZIO then, again, ties Blue Spike’s hands by asserting that it will file non-
  23 infringement defenses against Plaintiff that rely upon the nonpublic information
  24 requested by Blue Spike. Id. at 7 (§ D. 2.). With nothing more than Defendant’s
  25 contention, absent the source code to support this defense, Defendant’s defense that
  26 noninfringement applies to the present case leaves Plaintiff prejudiced. See Wi-Lan,
  27 1:15-cv-00788, Dkt. 204; Baron, 717 F.3d at 913, n. 9. VIZIO then asserts that Blue
  28 Spike, and not the Catch-22 it has created, is the underlying reason for delay. This is
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    1 illogical.
    2          With the discovery deadline fast approaching, Blue Spike is left with no choice
    3 but to file the current motion after meeting and conferring with counsel on April 20,
    4 2018. VIZIO took the repeated position that it didn’t understand Blue Spike’s
    5 infringement contentions—contentions which have been in Defendant’s possession
    6 for over two months. As has been an issue since the beginning of this process, VIZIO
    7 also made no good faith attempts to provide any of the requested source code; though
    8 Blue Spike has made it clear from the very beginning of discovery requests that an
    9 initial good faith effort as to some of the source code would have been sufficient to
  10 help move the process forward. See Ex. 1. VIZIO’s alleged lack of understanding
  11 coincides precisely with Blue Spike’s renewed request for a date to inspect VIZIO’s
  12 accused product source code.10
  13 III.      CONCLUSION TO PLAINTIFF BLUE SPIKE’S POSITION.
  14           Production of the source code requested by Blue Spike, and withheld by
  15 VIZIO, is essential to Blue Spike’s development of this case. See Fed. R. Civ. P.
  16 26(b)(1). Defendant is protected from prejudice by a protection order outlining the
  17 care of confidential information, Blue Spike’s efforts to set-up a discovery process
  18 with a neutral referee and loser pay provision, and Blue Spike’s transparent efforts to
  19 work with Defendant in the production of discovery at issue in this proceeding.
  20           Pursuant to Federal Rule 37(a), and Local Rule 37, Plaintiff requests for the
  21 Court to issue an Order to Compel Defendant to produce source code for the Accused
  22 Products as Blue Spike requested in its Requests for Production Nos. 16, 22-33.
  23 Defendant is welcome to make available a representative Accused Product’s source
  24
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  25    VIZIO also attempted through attorney argument to say that third parties had the
     source code not VIZIO. But VIZIO would not stipulate to not using any source code
  26 to show non-infringement. As such, even if third parties possess some source code,
     the Smart TVs produced by VIZIO are the accused products for this case and that
  27 source code is necessary to show how this hardware works with the operating system
     of VIZIO to run particular steaming applications, among others, from third parties.
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    1 code, e.g. a 2016 VIZIO Smart TV, whereby Blue Spike will stipulate that the other
    2 Accused Products stream, protect against hackers and have a similar remote control.
    3 Without an order from this Court compelling production, VIZIO has already
    4 demonstrated it will continue to practice “efficient infringement” forcing an
    5 independent inventor, who’s debt from a failed start-up are these patent rights, in
    6 patent’s that he created, to bring forward this litigation just to obtain a reasonable
    7 royalty.
    8                         DEFENDANT VIZIO’S POSITION11
    9 IV.      CASE BACKGROUND
  10           Blue Spike alleges that VIZIO infringes seven patents, which can be
  11 categorized into three groups: U.S. Patent Nos. 5,745,569, and 8,930,719 (collectively
  12 “ASLR Patents”); U.S. Patent Nos. 7,475,246, 8,171,561, and 8,739,295 (collectively
  13 “Secure Server Patents”); and U.S. Patent Nos. 7,159,116 and 8,538,011 (collectively
  14 “Trusted Transactions Patents”) (all patents collectively the “patents-in-suit”).
  15           Blue Spike does not contend that the patents-in-suit read on the Accused
  16 Devices (i.e., TVs and tablets) in their entirety. Instead, as Blue Spike concedes, the
  17 patents-in suit concern very limited aspects of the Accused Products. According to
  18 Blue Spike, the Secure Server Patents and the Trusted Transactions Patents relate to
  19 the use of Microsoft’s PlayReady functionality in certain VIZIO TVs and home
  20 theater displays, and the ASLR Patents relate to the alleged use of data protection
  21 based on memory shuffling in certain VIZIO remote control tablets. Basileo Decl.,
  22 Ex. D at 5-6; id., Ex. E, at 7-10.
  23
  24      11
        The draft joint stipulation that Blue Spike sent to VIZIO, see Basileo Decl., Ex. B,
  25 failed to include an initial introductory statement section from each party, or a
     verbatim statement of the relevant Request and Response. L.R. 37-2.1. VIZIO asked
  26 Blue Spike to revise the joint stipulation to conform to the Local Rules, but Blue
  27 Spike refused, stating, “We thought the intro complies as is. But you are welcome to
     separate it into section.” Basileo Decl., Ex. C.
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    1 V.     DISCOVERY IN DISPUTE
    2        According to Blue Spike’s heavily revised portion of this joint stipulation,
    3 Document Requests No. 16 and 28-33 are purportedly at issue here. Those requests
    4 are set forth below along with VIZIO’s Responses.
    5        DOCUMENT REQUEST NO. 16:
    6              Please produce all documents, including correspondence, email or
    7        data in electronic form, referring or related to the structure, operation,
    8        function or performance of the Accused Product and/or its components,
    9        including all source code, user guides, reference manuals, product
  10         manuals, product descriptions, technician’s guides, installation guides,
  11         technical manuals, software manuals, screen shots and datasheets.
  12         RESPONSE TO DOCUMENT REQUEST NO. 16:
  13               VIZIO incorporates its General Objections as if fully set forth
  14         herein.
  15               VIZIO further objects to this Request to the extent it calls for
  16         disclosure of documents protected by a Privilege.
  17               VIZIO further objects to this Request to the extent it requires
  18         disclosure of confidential information before a protective order is
  19         entered in this case. VIZIO will agree to produce its confidential
  20         documents once the Court enters a protective order in this case.
  21               VIZIO further objects to this Request as vague and ambiguous as
  22         to the term “Accused Product.” To date, Blue Spike has failed to
  23         specifically identify the products accused of infringement, including the
  24         model numbers of those accused products, and that information is
  25         needed before VIZIO can reasonably respond to this Request. Moreover,
  26         this lawsuit has nothing to do with vehicle tracking systems. VIZIO will
  27         not produce documents relating to vehicle tracking systems.
  28               VIZIO further objects to this Request as to the phrase “data in
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    1      electronic form.” It is uncertain what that data would include, aside from
    2      emails, and VIZIO will not produce those types of “documents or
    3      things” absent further clarification.
    4            VIZIO further objects to this Request to the extent it seeks
    5      information not relevant to any claim or defense or proportional to the
    6      needs of the case. This particular Request is objectionable because the
    7      proposed discovery is not important in resolving the issues in this action,
    8      and the burden or expense of the proposed discovery outweighs its likely
    9      benefit. For example, this Request seeks information about the structure
  10       and function of VIZIO’s televisions as a whole. But that is well beyond
  11       the scope of this lawsuit. Additionally, this Request seeks discovery into
  12       emails, and email discovery is not proportional to the needs of this case.
  13       Based on the Complaint, this lawsuit appears to relate to applications
  14       and instrumentalities developed by third parties. Thus, VIZIO’s
  15       documents, and particularly its emails, will not be relevant to any claim
  16       or defense in this case. Accordingly, VIZIO will not agree to produce
  17       any emails unless and until Blue Spike explains with specificity what
  18       emails are being sought, and why those emails are relevant to this matter
  19       and also proportional to the needs of this case.
  20             VIZIO objects to this Request to the extent that it seeks
  21       information that is not within VIZIO’s possession, custody, or control.
  22             VIZIO further objects to this Request to the extent it seeks
  23       disclosure of Third Party Confidential Information.
  24             VIZIO is willing to meet and confer to better understand the scope
  25       and relevance of this Request. VIZIO reserves the right to make further
  26       objections to this Request. It is also noted that based on VIZIO’s current
  27       understanding of Blue Spike’s infringement allegations, Blue Spike’s
  28       infringement theories are directed to applications and functionalities
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    1      developed and maintained by third parties. Thus, documents responsive
    2      to this Request are likely in the possession of third parties, not VIZIO.
    3      DOCUMENT REQUEST NO. 28
    4              Source code related to all Vizio’s Smart Televisions imported into
    5      the U.S. since January 1, 2018.
    6      RESPONSE TO DOCUMENT REQUEST NO. 28
    7              VIZIO incorporates its General Objections as if fully set forth
    8      herein.
    9              VIZIO further objects to this Request to the extent it seeks
  10       information not relevant to any claim or defense or proportional to the
  11       needs of the case. This particular Request is objectionable because the
  12       proposed discovery is not important in resolving the issues in this action,
  13       and the burden or expense of the proposed discovery outweighs its likely
  14       benefit. For example, this Request is not reasonably limited to any
  15       accused products, the functionality or features that are accused of
  16       infringement, or limited to the technology claimed in the asserted
  17       patents.
  18               VIZIO further objects to this Request to the extent it is vague and
  19       ambiguous as to the phrase “Source code related to all Vizio’s Smart
  20       Televisions.” It is entirely unclear what source code is being requested
  21       here.
  22               VIZIO further objects to this Request to the extent it requires
  23       disclosure of confidential information before a protective order is
  24       entered in this case. VIZIO will agree to produce its confidential
  25       documents once the Court enters a protective order in this case.
  26               VIZIO objects to this Request to the extent that it seeks
  27       information that is not within VIZIO’s possession, custody, or control.
  28       Most of the source code in VIZIO’s televisions is controlled by various
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    1      third parties, not VIZIO.
    2            VIZIO further objects to this Request to the extent it seeks
    3      disclosure of Third Party Confidential Information.
    4            VIZIO is willing to meet and confer to better understand the scope
    5      and relevance of this Request. VIZIO reserves the right to make further
    6      objections to this Request. It is also noted that based on VIZIO’s current
    7      understanding of Blue Spike’s infringement allegations, Blue Spike’s
    8      infringement theories are directed to applications and functionalities
    9      developed and maintained by third parties. Thus, documents responsive
  10       to this Request are likely in the possession of third parties, not VIZIO.
  11       DOCUMENT REQUEST NO. 29
  12             Source code related to Vizio’s Tablets streaming of audio and/or
  13       video content since January 1, 2018.
  14       RESPONSE TO DOCUMENT REQUEST NO. 29
  15             VIZIO incorporates its General Objections as if fully set forth
  16       herein.
  17             VIZIO further objects to this Request to the extent it seeks
  18       information not relevant to any claim or defense or proportional to the
  19       needs of the case. This particular Request is objectionable because the
  20       proposed discovery is not important in resolving the issues in this action,
  21       and the burden or expense of the proposed discovery outweighs its likely
  22       benefit. For example, this Request is not reasonably limited to any
  23       accused products, the functionality or features that are accused of
  24       infringement, or limited to the technology claimed in the asserted
  25       patents.
  26             VIZIO further objects to this Request to the extent it is vague and
  27       ambiguous as to the phrase “Source code related to all Vizio’s Tablets.”
  28       It is entirely unclear what source code is being requested here.
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    1            VIZIO further objects to this Request to the extent it requires
    2      disclosure of confidential information before a protective order is
    3      entered in this case. VIZIO will agree to produce its confidential
    4      documents once the Court enters a protective order in this case.
    5            VIZIO objects to this Request to the extent that it seeks
    6      information that is not within VIZIO’s possession, custody, or control.
    7      Most of the source code in VIZIO’s televisions is controlled by various
    8      third parties, not VIZIO.
    9            VIZIO further objects to this Request to the extent it seeks
  10       disclosure of Third Party Confidential Information.
  11             VIZIO is willing to meet and confer to better understand the scope
  12       and relevance of this Request. VIZIO reserves the right to make further
  13       objections to this Request. It is also noted that based on VIZIO’s current
  14       understanding of Blue Spike’s infringement allegations, Blue Spike’s
  15       infringement theories are directed to applications and functionalities
  16       developed and maintained by third parties. Thus, documents responsive
  17       to this Request are likely in the possession of third parties, not VIZIO.
  18       DOCUMENT REQUEST NO. 30
  19             Source code related to Vizio’s Smart Televisions and Tablets
  20       streaming functionality of audio and/or video content.
  21       RESPONSE TO DOCUMENT REQUEST NO. 30
  22             VIZIO incorporates its General Objections as if fully set forth
  23       herein.
  24             VIZIO further objects to this Request to the extent it seeks
  25       information not relevant to any claim or defense or proportional to the
  26       needs of the case. This particular Request is objectionable because the
  27       proposed discovery is not important in resolving the issues in this action,
  28       and the burden or expense of the proposed discovery outweighs its likely
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    1      benefit. For example, this Request is not reasonably limited to any
    2      accused products, the functionality or features that are accused of
    3      infringement, or limited to the technology claimed in the asserted
    4      patents.
    5            VIZIO further objects to this Request to the extent it is vague and
    6      ambiguous as to the phrase “Source code related to all Vizio’s Smart
    7      Televisions and Tablets.” It is entirely unclear what source code is being
    8      requested here.
    9            VIZIO further objects to this Request to the extent it requires
  10       disclosure of confidential information before a protective order is
  11       entered in this case. VIZIO will agree to produce its confidential
  12       documents once the Court enters a protective order in this case.
  13             VIZIO objects to this Request to the extent that it seeks
  14       information that is not within VIZIO’s possession, custody, or control.
  15       Most of the source code in VIZIO’s televisions is controlled by various
  16       third parties, not VIZIO.
  17             VIZIO further objects to this Request to the extent it seeks
  18       disclosure of Third Party Confidential Information.
  19             VIZIO is willing to meet and confer to better understand the scope
  20       and relevance of this Request. VIZIO reserves the right to make further
  21       objections to this Request. It is also noted that based on VIZIO’s current
  22       understanding of Blue Spike’s infringement allegations, Blue Spike’s
  23       infringement theories are directed to applications and functionalities
  24       developed and maintained by third parties. Thus, documents responsive
  25       to this Request are likely in the possession of third parties, not VIZIO.
  26       DOCUMENT REQUEST NO. 31
  27             All notes related to revisions to the source code related to the
  28       streaming functionality since January 1, 2016 for Vizio’s Smart
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    1      Televisions and Tablets.
    2      RESPONSE TO DOCUMENT REQUEST NO. 31
    3            VIZIO incorporates its General Objections as if fully set forth
    4      herein.
    5            VIZIO further objects to this Request to the extent it seeks
    6      information not relevant to any claim or defense or proportional to the
    7      needs of the case. This particular Request is objectionable because the
    8      proposed discovery is not important in resolving the issues in this action,
    9      and the burden or expense of the proposed discovery outweighs its likely
  10       benefit. For example, this Request is not reasonably limited to any
  11       accused products, the functionality or features that are accused of
  12       infringement, or limited to the technology claimed in the asserted
  13       patents.
  14             VIZIO further objects to this Request to the extent it is vague and
  15       ambiguous as to the phrase “source code related to the streaming
  16       functionality since January 1, 2016 for Vizio’s Smart Televisions and
  17       Tablets.” It is entirely unclear what source code is being requested here.
  18             VIZIO further objects to this Request to the extent it requires
  19       disclosure of confidential information before a protective order is
  20       entered in this case. VIZIO will agree to produce its confidential
  21       documents once the Court enters a protective order in this case.
  22             VIZIO objects to this Request to the extent that it seeks
  23       information that is not within VIZIO’s possession, custody, or control.
  24       Most of the source code in VIZIO’s televisions is controlled by various
  25       third parties, not VIZIO.
  26             VIZIO further objects to this Request to the extent it seeks
  27       disclosure of Third Party Confidential Information.
  28             VIZIO is willing to meet and confer to better understand the scope
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    1      and relevance of this Request. VIZIO reserves the right to make further
    2      objections to this Request. It is also noted that based on VIZIO’s current
    3      understanding of Blue Spike’s infringement allegations, Blue Spike’s
    4      infringement theories are directed to applications and functionalities
    5      developed and maintained by third parties. Thus, documents responsive
    6      to this Request are likely in the possession of third parties, not VIZIO.
    7      DOCUMENT REQUEST NO. 32
    8            Documents explaining the differences in the versions of the
    9      source code and/or
  10       programming code for Vizio’s Smart Televisions and Tablets since
  11       January 1, 2016.
  12       RESPONSE TO DOCUMENT REQUEST NO. 32
  13             VIZIO incorporates its General Objections as if fully set forth
  14       herein.
  15             VIZIO further objects to this Request to the extent it seeks
  16       information not relevant to any claim or defense or proportional to the
  17       needs of the case. This particular Request is objectionable because the
  18       proposed discovery is not important in resolving the issues in this action,
  19       and the burden or expense of the proposed discovery outweighs its likely
  20       benefit. For example, this Request is not reasonably limited to any
  21       accused products, the functionality or features that are accused of
  22       infringement, or limited to the technology claimed in the asserted
  23       patents.
  24             VIZIO further objects to this Request to the extent it is vague and
  25       ambiguous as to the phrase “Documents explaining the differences in the
  26       versions of the source code and/or programming code for Vizio’s Smart
  27       Televisions and Tablets since January 1, 2016.” It is entirely unclear
  28       what differences are being discussed here, and if those differences are
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    1      within the scope of this action.
    2            VIZIO further objects to this Request to the extent it requires
    3      disclosure of confidential information before a protective order is
    4      entered in this case. VIZIO will agree to produce its confidential
    5      documents once the Court enters a protective order in this case.
    6            VIZIO objects to this Request to the extent that it seeks
    7      information that is not within VIZIO’s possession, custody, or control.
    8      Most of the source code in VIZIO’s televisions is controlled by various
    9      third parties, not VIZIO.
  10             VIZIO further objects to this Request to the extent it seeks
  11       disclosure of Third Party Confidential Information.
  12             VIZIO is willing to meet and confer to better understand the scope
  13       and relevance of this Request. VIZIO reserves the right to make further
  14       objections to this Request. It is also noted that based on VIZIO’s current
  15       understanding of Blue Spike’s infringement allegations, Blue Spike’s
  16       infringement theories are directed to applications and functionalities
  17       developed and maintained by third parties. Thus, documents responsive
  18       to this Request are likely in the possession of third parties, not VIZIO.
  19       DOCUMENT REQUEST NO. 33
  20             Documents listing the versions of the source code and/or
  21       programming code for Vizio’s Smart Televisions and Tablets since
  22       January 1, 2016.
  23       RESPONSE TO DOCUMENT REQUEST NO. 33
  24             VIZIO incorporates its and General Objections as if fully set forth
  25       herein.
  26             VIZIO further objects to this Request to the extent it seeks
  27       information not relevant to any claim or defense or proportional to the
  28       needs of the case. This particular Request is objectionable because the
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    1      proposed discovery is not important in resolving the issues in this action,
    2      and the burden or expense of the proposed discovery outweighs its likely
    3      benefit. For example, this Request is not reasonably limited to any
    4      accused products, the functionality or features that are accused of
    5      infringement, or limited to the technology claimed in the asserted
    6      patents.
    7            VIZIO further objects to this Request to the extent it is vague and
    8      ambiguous as to the phrase “Documents listing the versions of the
    9      source code and/or programming code for Vizio’s Smart Televisions and
  10       Tablets since January 1, 2016.” It is unclear what source code is being
  11       referenced here.
  12             VIZIO further objects to this Request to the extent it requires
  13       disclosure of confidential information before a protective order is
  14       entered in this case. VIZIO will agree to produce its confidential
  15       documents once the Court enters a protective order in this case.
  16             VIZIO objects to this Request to the extent that it seeks
  17       information that is not within VIZIO’s possession, custody, or control.
  18       Most of the source code in VIZIO’s televisions is controlled by various
  19       third parties, not VIZIO.
  20             VIZIO further objects to this Request to the extent it seeks
  21       disclosure of Third Party Confidential Information.
  22             VIZIO is willing to meet and confer to better understand the scope
  23       and relevance of this Request. VIZIO reserves the right to make further
  24       objections to this Request. It is also noted that based on VIZIO’s current
  25       understanding of Blue Spike’s infringement allegations, Blue Spike’s
  26       infringement theories are directed to applications and functionalities
  27       developed and maintained by third parties. Thus, documents responsive
  28       to this Request are likely in the possession of third parties, not VIZIO.
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    1 VI.    COURTS CAREFULLY SCRUTINIZE SOURCE CODE REQUESTS
    2        Proprietary source code is commercially sensitive, and thus courts carefully
    3 scrutinize source code requests. Drone Tech., 838 F.3d at 1299-30. Thus, a party
    4 (such as Blue Spike) seeking source code must prove that the source code in question
    5 is relevant to issues in dispute, and that the need for production outweighs the risks
    6 and burdens associated with its production. Id. at 1300 (vacating an order requiring
    7 production of source code because moving party “failed to show its relevance or
    8 establish any need for the code as it relates to the operation of the accused products”).
    9 Mere speculation will not suffice. In re Apple and AT & TM Antitrust Litig., 2010
  10 WL 1240295, at *3 (N.D. Cal. Mar. 26, 2010) (“Based on the above, plaintiffs have
  11 not met their burden and have not established that the additional source code sought is
  12 relevant and necessary. Plaintiffs only speculate that the additional source code may
  13 be relevant. At this juncture, some (if not all) of plaintiffs’ assertions appear to be
  14 based on mere ‘belief.’”) (citations omitted).
  15         Courts also recognize that requests (such as the one at issue here) that seek all
  16 source code regardless of its relevance are overbroad, and only source code that
  17 relates to the accused functionality should be made available for inspection. See, e.g.,
  18 Uniloc USA, Inc. v. Apple, Inc., 2018 WL 2002979, at *2-3 (N.D. Cal. Apr. 30, 2018)
  19 (denying request to inspect all iPhone operating system software as overbroad, citing
  20 “the requirement under the Federal Rules that discovery be relevant and
  21 proportional”); Rensselaer Polytechnic Inst. v. Apple Inc., 2014 WL 1871866, at *4-5
  22 (N.D.N.Y. May 8, 2014) (limiting production to source code relating to accused
  23 functionality); Nazomi Comm’s, Inc. v. Samsung Telecomms., Inc., 2012 WL
  24 1980807, at *3 (N.D. Cal. June 1, 2007) (limiting production to source code relating
  25 to accused functionality, and denying plaintiff’s request for a “complete copy of the
  26 source code compiled onto each [defendant] device” so as to help plaintiff “fully
  27 understand the operation of [defendant's] products and to determine whether relevant
  28 source code is in the exclusive possession of one or more third parties.”).
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    1 VII. VIZIO DOES NOT HAVE THE RELEVANT SOURCE CODE
    2          As discussed above, the accused functionality in this case falls into two
    3 categories: 1) Microsoft’s PlayReady functionality in certain VIZIO TVs, and 2) the
    4 alleged use of data protection based on memory shuffling in certain VIZIO remote
    5 control tablets. VIZIO does not possess the source code relating to either of these
    6 accused functionalities.
    7          As explained in the Declaration of Eric Loes, VIZIO’s Senior Director of
    8 Software Engineering, VIZIO does not manufacture the TVs or home theater displays
    9 that it sells. Declaration of Eric Loes (“Loes Decl.”), ¶ 3.
  10
  11               These TVs currently include system-on-a-chip processors (“SoCs”) from
  12 different third-party manufacturers. Id. VIZIO does not possess the source code
  13 relating to Microsoft’s PlayReady functionality in VIZIO’s TVs. Id. at ¶ 4.12
  14           In addition, VIZIO does not manufacture the Android-based remote control
  15 tablets that shipped with certain models of its TVs and home theater displays. Id. at ¶
  16 6. Those remote control tablets were manufactured by a third party manufacturer. Id.
  17 at ¶ 6. VIZIO does not possess the source code relating to data protection through
  18 memory shuffling on VIZIO’s Android-based remote control tablets. Id. at ¶ 7.
  19           In sum, VIZIO does not have the relevant source code, and Blue Spike’s
  20 motion should be denied on this basis.
  21 VIII. BLUE SPIKE HAS FAILED TO SHOW THAT ANY OTHER SOURCE
  22           CODE IS RELEVANT OR NECESSARY
  23           As discussed above, a party (such as Blue Spike) that seeks the production of
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          12
  25
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    1 computer source code must prove that the source code in question is relevant to issues
    2 in dispute, and that the need for production outweighs the risks and burdens
    3 associated with its production. Drone Tech., 838 F.3d at 1300-1301. Blue Spike does
    4 not come close to meeting its burden.
    5          Blue Spike asserts that it needs to inspect all of VIZIO’s source code “in order
    6 to respond to the non-infringement and invalidity claims that VIZIO has asserted” and
    7 “to fairly develop its claims past the plausible (yet publicly available) level that
    8 Plaintiff has already demonstrated.”       But source code unrelated to the accused
    9 functionality is not relevant or necessary to either task. For that reason it is not
  10 discoverable. See, e.g., Rensselaer Polytechnic Inst., 2014 WL 1871866 (limiting
  11 production to source code relating to accused functionality).
  12           Blue Spike also argues that it “has repeatedly explained to VIZIO the relevance
  13 of the code to this case – where initial source code production for the Accused
  14 Products within Defendants control is a central issue to the infringement contentions.”
  15 But it is not enough to merely assert that source code is “a central issue to the
  16 infringement contentions.” Blue Spike must explain why VIZIO source code
  17 unrelated to the accused functionality is relevant to its contentions. Blue Spike has
  18 not even attempted to do so.13
  19           Blue Spike also argues that source code is discoverable if it relates to an
  20 accused product identified in its pleading, regardless of whether it relates to the
  21 accused functionality. See Mot. at 6, fn. 4. None of the cases cited by Blue Spike
  22 support this proposition. Each involves the question of whether the allegations in a
  23 complaint are sufficient to survive a motion to dismiss, and do not concern the scope
  24
  25      13
        Blue Spike also cites Baron Services, 717 F.3d at 913, n. 9, for the proposition that
  26 “finding non-infringement without requiring a defendant to produce source code [is]
     an abuse of discretion.” But the court in Baron expressly held that the source code in
  27 question was “relevant and likely to lead to admissible evidence.” Id. Blue Spike has
     made no such showing here.
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    1 of permissible discovery. 14 In fact, as discussed above, courts routinely reject the
    2 notion that all source code related to an accused product is discoverable, and limit
    3 discovery to source code that relates to the accused functionality. See, e.g., Nazomi,
    4 2012 WL 1980807, at *3 (limiting production to source code relating to accused
    5 functionality, and denying plaintiff’s request for a “complete copy of the source code
    6 compiled onto each [defendant] device”).
    7          Finally, Blue Spike argues that the proportionality requirement of Fed. R. Civ.
    8 P. 26(b)(1) is not an impediment to the relief it seeks because the parties could agree
    9 that (1) VIZIO products operate the same way as any source code provided; and (2)
  10 the source code is same for any model of accused products. This argument is a red
  11 herring. VIZIO does not possess source code for the accused functionalities; that
  12 source code is in the hands of third parties. And Blue Spike has not shown that any
  13 other source code that VIZIO might possess is relevant or necessary. Thus, Blue
  14 Spike has not made the threshold showing required to support a source code
  15 inspection in the first place, and thus proportionality (which is a further limit on
  16 discovery, once relevance has been established) is entirely beside the point.
  17 IX.       VIZIO HAS REPEATEDLY ADVISED BLUE SPIKE THAT THE
  18           RELEVANT SOURCE CODE IS CONTROLLED BY THIRD PARTIES
  19           VIZIO has made no secret of the fact that the source code relevant to this
  20 dispute is third party source code. For example, in its March 26, 2018, Response to
  21 the request at issue here, VIZIO advised Blue Spike that it should seek source code
  22 from third parties.
  23
          14
  24    See Mendiondo v. Centinela Hosp. Med. Ctr., 521 F.3d 1097, 1104 (9th Cir. 2008)
     (finding that where a cognizable theory or sufficient facts are presented, Rule 8
  25 requirement is met); McAfee Enters., Inc. v. Yamaha Corp. of America, 2:16-2562,
     2016 WL 6920675 at *2 (C.D. Cal. June 24, 2016) (“The patent holder is not required
  26 to provide every detail of its claim within the initial pleading. [citation omitted].
     Rather, the complaint must merely provide a defendant with fair notice and a basis for
  27 asserting the claim. [citation omitted].”); Soteria Encryption, LLC v. Lenovo United
     States, Inc., 16-7958, 2017 WL 3449058, at *1 (C.D. Cal. Feb. 27, 2017).
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    1           It is also noted that based on VIZIO’s current understanding of Blue
                Spike’s infringement allegations, Blue Spike’s infringement theories are
    2           directed to applications and functionalities developed and maintained by
    3           third parties. Thus, documents responsive to this Request are likely in
                the possession of third parties, not VIZIO.
    4
          Basileo Decl., Ex. F at 25 (emphasis added). In an April 10, 2018, email regarding
    5
          meet and confer times, VIZIO counsel reiterated this warning:
    6
                Additionally, we reiterate that, based on our current understanding, the
    7           source code you are really seeking is in the possession of third parties,
                but we can discuss that on our phone call as well.
    8
          Id., Ex. A at 3 (emphasis added). And during the April 20, 2018, meet and confer
    9
          teleconference VIZIO counsel again advised Blue Spike that Blue Spike should seek
  10
          such source code from third parties. Id., ¶ 14.
  11
          X.    BLUE SPIKE’S ASSERTIONS THAT VIZIO HAS ACTED
  12
                IMPROPERLY ARE UNFOUNDED
  13
                Blue Spike’s Motion is replete with baseless accusations regarding VIZIO’s
  14
          purported discovery misconduct. For example, Blue Spike complains about the fact
  15
          that it has had to assert its claims in two different venues. But there is nothing
  16
          improper about VIZIO’s refusal to litigate this action in an improper forum (the
  17
          Eastern District of Texas). TC Heartland LLC v. Kraft Foods Group Brands LLC,
  18
          137 S.Ct. 1514, 1520-21 (2017) (venue in a patent case is improper if the Defendant
  19
          is neither incorporated nor maintains a regular and established place of business in the
  20
          forum).
  21
                Blue Spike also complains that VIZIO did not produce its source code when
  22
          counsel for Blue Spike “asked for it” early in this case. But this complaint is baseless.
  23
          Among other things, VIZIO had no obligation to respond to Blue Spike’s counsel’s
  24
          informal requests. And while Blue Spike appears to be operating under the false
  25
          assumption that this case is actually pending in the Eastern District of Texas (which
  26
          has different initial disclosure obligations), see, e.g., Basileo Decl., Ex. G at 7, 15, 21,
  27
          and 22 (citing the Local Rules of the Eastern District of Texas), this is simply not the
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    1 case. Moreover, no production of source code could have taken place in the absence
    2 of a protective order, which was only recently approved by this Court. And it was for
    3 this same reason that VIZIO proposed no deadline for source code production in the
    4 parties’ Joint Rule 26(f). This was not done to avoid the obligation to provide source
    5 code, if any, as Blue Spike contends. Finally, as set forth above, VIZIO does not
    6 possess source code relating to the accused functionalities.
    7        As for Blue Spike’s complaint that it is now facing time pressure with regard to
    8 discovery, Blue Spike has no one to blame but itself. The parties conducted their
    9 Rule 26(f) initial conference on December 15, 2017. Basileo Decl., Ex. H at 1. Blue
  10 Spike could have served formal discovery at any time thereafter. But Blue Spike
  11 inexplicably waited until February 23, 2018, to serve its first set of formal document
  12 demands, including its demand for source code. Basileo Decl., Ex. I. Blue Spike’s
  13 protests about “trying to meet and confer” for “months,” when it did not serve formal
  14 requests until February 23, 2018, and did not seek its first post-formal- request meet
  15 and confer until April 3, 2018, see id., Ex. A, are not well-taken. And Blue Spike has
  16 not bothered to conduct any third party discovery to date, despite VIZIO repeatedly
  17 informing Blue Spike that third parties are likely in possession of this source code.
  18 Moreover, as discussed above, Blue Spike has delayed the instant motion by serving a
  19 joint stipulation, then withdrawing that joint stipulation after it received VIZIO’s
  20 response, and then approximately one week later re-serving a second, substantially
  21 revised joint stipulation that restarted the seven-day time period for VIZIO’s
  22 response. Any time crunch Blue Spike may purportedly be facing, such as pursuing
  23 international discovery, is Blue Spike’s own fault.
  24         Similarly unavailing is Blue Spike’s contention that VIZIO has avoided
  25 meeting and conferring with Blue Spike. The document request response at issue in
  26 this Motion was served in a timely manner on March 26, 2018. Id., Ex. F. Blue
  27 Spike did nothing for eight days, then sent a meet and confer request that did not
  28 contain any of the information required by Local Rule 37. Id., Ex. A at 8. VIZIO
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    1 requested that Blue Spike provide a proper meet and confer letter. Id. at 4-6. Even
    2 though Blue Spike ignored this request, over the next few days VIZIO proposed
    3 multiple dates and times for a meet and confer call. Id. at 2 (“The dates and times you
    4 propose do not work for us. We are available to meet and confer Thursday or Friday
    5 of this week.”); id. at 1 (“How about 2 p.m. Los Angeles time on Thursday?”); id. (“I
    6 have not heard back from you regarding the time I proposed, and now that time slot
    7 no longer works for us. How about 10:30 tomorrow morning?”). Blue Spike ignored
    8 all of these proposals. When Blue Spike finally responded, it claimed it was distracted
    9 by another matter that it deemed more important:
  10         My apologies Steve, I was distracted the last few days by the billion
  11         dollar Virnetix case against Apple. They found infringement and the last
  12         few days are involved with willfulness, which seems like a sure thing
  13         from your fellow members of the bar here in Texas.
  14 Id., Ex. A at 1.
  15         On this record, Blue Spike cannot credibly assert that VIZIO has delayed the
  16 meet and confer process. The opposite is true.
  17 XI.     CONCLUSION TO VIZIO’S POSITION
  18         As explained to Blue Spike on multiple occasions, VIZIO is not refusing to
  19 produce relevant source code. It simply does not have the relevant source code that
  20 Blue Spike seeks. Blue Spike’s vague request for other source code unrelated to the
  21 accused functionality at issue in this case is improper. Equally improper is Blue
  22 Spike’s insistence on bringing this meritless motion in order to cast aspersions at
  23 VIZIO. Blue Spike’s Motion should be denied in its entirety, and VIZIO should be
  24 awarded its fees and costs incurred in connection with this Motion (including the fees
  25 and costs incurred by VIZIO in responding to Blue Spike’s initial Joint Stipulation,
  26 which Blue Spike has now withdrawn).
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    1 JOINT SUBMISSION BY BLUE SPIKE, LLC AND VIZIO, INC.
    2 PLAINTIFF BLUE SPIKE LLC                      DEFENDANT VIZIO, INC.
    3
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